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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     TRIBUO PARTNERS LLC,                                 Case No. 22-cv-02930-JSC
                                                         Plaintiff,
                                   8
                                                                                              ORDER RE: DIVERSITY
                                                  v.                                          JURISDICTION
                                   9

                                  10     WILSON SONSINI GOODRICH ROSATI,                      Re: Dkt. No. 1
                                         P.C., et al.,
                                  11                     Defendants.
                                  12
Northern District of California
 United States District Court




                                  13           Plaintiff’s complaint asserts federal subject matter jurisdiction on the basis of diversity.

                                  14   (Dkt. No. 1 ¶ 4.) Defendants are a California corporation and an individual citizen of Texas. (Id.

                                  15   ¶¶ 2–3.) Plaintiff is “a Colorado limited liability company.” (Id. ¶ 1.) However, “an LLC is a

                                  16   citizen of every state of which its owners/members are citizens.” Johnson v. Columbia Props.

                                  17   Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006). Therefore, the complaint does not properly

                                  18   allege diversity jurisdiction because it does not allege the citizenship of each member of Plaintiff.

                                  19   No other basis for federal question jurisdiction is clear from the complaint. See Nationwide Mut.

                                  20   Ins. Co. v. Liberatore, 408 F.3d 1158, 1161–62 (9th Cir. 2005) (explaining that, despite “inartful

                                  21   pleading,” complaint “expressly states that resolution of its claims would require the federal court

                                  22   to apply the Federal Tort Claims Act, a clear indication . . . [of] federal subject-matter

                                  23   jurisdiction”).

                                  24           Accordingly, if there is a proper basis for diversity jurisdiction, Plaintiff shall file an

                                  25   amended complaint that sets forth the citizenship of each of its members on or before June 13,

                                  26   2022. See Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (“Federal courts

                                  27   are courts of limited jurisdiction. . . . It is to be presumed that a cause lies outside this limited

                                  28   jurisdiction, and the burden of establishing the contrary rests upon the party asserting jurisdiction.”
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                                   1   (citations omitted)); see also Hertz Corp. v. Friend, 559 U.S. 77, 94 (2010) (“Courts have an

                                   2   independent obligation to determine whether subject-matter jurisdiction exists, even when no

                                   3   party challenges it.”).

                                   4           IT IS SO ORDERED.

                                   5   Dated: June 6, 2022

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                                                                                                   JACQUELINE SCOTT CORLEY
                                   8                                                               United States District Judge
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Northern District of California
 United States District Court




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